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UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF COLORADO
IN RE: JUL - 5 2019
WILD CALLING PET FOODS, LLC

 

 

 

Case No. 17-198987BM bist
Chapter 7

Nee ee

Debtor

 

 

REPORT OF SALE

 

COMES NOW Dickensheet & Associates, Inc., Auctioneer, in the above
captioned proceeding and states as follows:

1. On May 10th, 2018, the Trustee in the above-captioned case
obtained an order from the Court for the sale of assets at public auction,
and for the employment and compensation of the undersigned auctioneer.

2. The property consigned by the Trustee was sold at public auction
on Saturday, June 8th, 2019, by Dickensheet & Associates, Inc., 1501 W
Wesley Avenue, Denver, Colorado 80223. A list of each item sold, along

with the price and the buyer, is attached. A list of registered buyers is
also attached.

3. The total proceeds of $ 22,500.00 received for the property
consigned by the Trustee were mailed or delivered to the Trustee on July
2nd, 2019.

4, The undersigned was paid a commission of ten percent (10%)
totaling $ 2,250.00 and expenses of $ 533.50 were incurred regarding this
estate.

5. If any items consigned by the Trustee were not sold because no
bids were received, the items have been returned to the Trustee or sold at
a later auction date.

6. The undersigned hereby certified that neither he nor any of his
employees acquired any interest, either direct or indirect, in any of the
property sold.

DATED: July Ist, 2019
Respectfully submitted,

* LY

XN
Christine Dickensheet

Dickensheet & Associates, Inc.
1501 W Wesley Avenue
Denver, Colorado 80223

 

 
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CERTIFICATE OF MAILING

I hereby certify that a copy of the foregoing REPORT OF SALE was
delivered or mailed, postage prepaid, to the following:

Jeffrey Hill

Chapter 7 Trustee

12605 E Buclid Drive
Centennial, Colorado 80111

United States Trustee
District of Colorado

999 18%" Street, Suite 1551
Denver, Colorado 80202

United States Bankruptcy Court
721 19° Street
Denver, Colorado 80202

DATED: July Ist, 2019
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Seller Settlement

Dickensheet & Associates, Inc
1501 W Wesley Ave
Denver, CO 80223

Phone; (303) 934-8322

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Invoice #: 5-119755-1

 

 

Seller Information

Auction Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:
Seller Name: CALLING, WILD Auction: USMS, USBC VEHICLE AUCTION
Seller Number: 5 | Date: 06/08/2019 11:00
Company: CASE#: 17-19898 Location: 1501 W Wesley Ave :
Location: MR. JEFFREY HILL, TRUSTEE Denver, CO 80223

UNITED STATES BANKRUPTCY COURT ‘
Phone:
Lot ar : Lot Comm
Num Description Bidder SubTotal Total Lot Net
3 2007 CHEVROLET CORVETTE , VIN: 1G1YY36U675118289, ODOMETER | 3 $22,500.00 ($2,250.00) | $20,250.00
READS 20,513
1 $22,500.00 ($2,250.00) | $20,250.00
Expenses
Date Type Merchant Description Amount Notes
Seller Relocation to Auction Site by Interstate Towing $186.00
Seller Advertising & Promotion $347.50
Total Expenses: 2 Total: $533.50
Summary
Auction Gross | $22,500.00
Commissions | ($2,250.00)
Expenses ($533.50)
Credits $0.00
Auction Net $19,716.50
Total Paid $22,500.00
Balance Due | ($2,783.50)

 

 

 

 

 
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On Behalf Of The US Bankruptcy Court, Estates & Others
Private Wine Collection, Liquor Store, Firearms, Undeveloped Land, Coins/Currency & More To Be Sold

On Behalf Of The US Marshals Service, US Bankruptcy Court & Others

LUXURY CARS AND MORE

2019 Chevy CorvetteZR1 2019 Chevrolet ZR1Premium 3ZR Convertible
2014 Dodge Viper SRT 2014 Porsche Cayenne Turbo

2014 Dodge Challenger SXT/Rallye Redline

1966 Chevrolet Impala Super Sport 327 Convertible

2018 Chevrolet Camaro ZL1 2014 Dodge SRT Viper GTS

Classic 1928 Ford Tudor (Early Inspection)

MOTORCYCLES, BOATS, TRAVEL & UTILITY TRAILERS
GREAT SELECTION OF ADDITIONAL VEHICLES

BOTH AUCTIONS ARE BEING CONDUCTED AT:
1501 W Wesley Avenue, Denver

g wDickensheet (303) 934-8322  www.Dickensheet.com

Associates

 

 

 

 
